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IN THE UNITED STATES DISTRICT CoURT 05 JUL 29 Pn m 20
FoR THE WESTERN DISTRICT oF TENNESSEE

 

 

WESTERN DIvISIoN M"UU*§“?,`:YOMDU
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JIMMIE SMITH, et al.,
Plaintiffs, Case No. 04-2569 D
VS.
HOME DEPOT, U.S.A., INC.,
Defendant.
ORDER OF REFERENCE

 

Before the court is Defendant’ s Motion to Continue Trial Date filed on July 19, 2005, in this
case.

This matter is hereby referred to the United States Magistrate Judge for a Deterrnination.
Any exceptions to the Magistrate J'udge’s order shall be made by motion within ten (10) days of the
order. Further, all exceptions shall be stated with particularity

IT ls So 0RDERED this 361 day of%dé_ 2005.

ICE B. BONALD
UNITED sTATEs DISTRICT JUDGE

Thls document entered on the docket sheet In compliance
with ama se andrew may FRCP on § f 0 02

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
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Honorable Bernice Donald
US DISTRICT COURT

